                                                  Case 20-60681-jwc                          Doc 51   Filed 07/30/20 Entered 07/30/20 18:39:19                                       Desc
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                                                                      Individual Estate Property Record and Report
                                                                                       Asset Cases
Case No.:  20-60681-JWC                                                                                                                            Trustee Name:        (300320) S. Gregory Hays
Case Name:   OLIGA, JOHN JOSEPH                                                                                                                    Date Filed (f) or Converted (c): 01/10/2020 (f)
             OLIGA, JEANINE BARKER
                                                                                                                                                   § 341(a) Meeting Date:       02/06/2020
For Period Ending:      06/30/2020                                                                                                                 Claims Bar Date: 07/30/2020

                                                      1                                                    2                              3                            4                      5                          6

                                             Asset Description                                          Petition/                 Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                                  (Scheduled And Unscheduled (u) Property)                            Unscheduled            (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                                         Values                 Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                                            and Other Costs)                                                             Remaining Assets

    1       Hilton Grand Vacations Club at Trump, Las Vegas, NV                                                 Unknown                                 0.00           OA                                 0.00                        FA
            Notice of abandonment filed on 6/8/20, Dkt # 43.

    2       265 Stoneleigh Dr SW, Atlanta, GA 30331-76, ulton County County                                    251,600.00                               0.00           OA                                 0.00                        FA
            Notice of abandonment filed on 6/8/20, Dkt # 43.

    3       2012 Mercedes E350, 176000 miles                                                                     7,741.00                               0.00           OA                                 0.00                        FA
            Notice of abandonment filed on 6/8/20, Dkt # 43.

    4       Kitchen appliances, Ir set, dining rm set, Ir set, sofa, 2 chairs, 3 bdrm sets                       4,000.00                               0.00                                              0.00                        FA

    5       3 tvs, 2 computers, 2 cell p                                                                         1,000.00                               0.00                                              0.00                        FA

    6       Suits, dresses, shoes, b                                                                             2,000.00                               0.00                                              0.00                        FA

    7       wedding rings, gold chain, watches, everyday jewelry                                                 1,000.00                               0.00                                              0.00                        FA

    8       Cash                                                                                                    500.00                              0.00                                              0.00                        FA

    9       Checking account: Bank of America                                                                    9,700.00                               0.00                                              0.00                        FA

    10      Checking account: Bank of America                                                                       132.35                              0.00                                              0.00                        FA

    11      Other financial account: Bank of America                                                                823.86                              0.00                                              0.00                        FA

    12      IRA: SEP IRA                                                                                        13,142.91                               0.00                                              0.00                        FA

    13      Retirement account: 457(6)                                                                          23,956.00                               0.00                                              0.00                        FA

    14      Additional account 403(6): 403(6)                                                                   36,563.00                               0.00                                              0.00                        FA

    15      Additional account: Sep IRA                                                                          4,027.82                               0.00                                              0.00                        FA

    16      2014 Toyota Highlander XLE                                                                          11,343.00                               0.00           OA                                 0.00                        FA
            Notice of abandonment filed on 6/8/20, Dkt # 43.

    17      IRA Services Trust Co - Self directed IRA                                                          728,914.00                               0.00                                              0.00               728,914.00
            Trustee filed objection to exemption in this asset, which is still pending.

   17       Assets                Totals        (Excluding unknown values)                                $1,096,443.94                               $0.00                                           $0.00              $728,914.00
                                         Case 20-60681-jwc             Doc 51       Filed 07/30/20 Entered 07/30/20 18:39:19                         Desc
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      Major Activities Affecting Case Closing:
                                   Trustee has filed an objection to Mr. Oliga's claimed exemption in a self-directed IRA (Docket # 39). The Trustee is investigating whether the self-
                                   directed IRA participated in prohibited transactions. A deposition of the Debtor is scheduled for July 31, 2020 and a hearing on the objection to
                                   exemption is scheduled for September 17.

      Initial Projected Date Of Final Report (TFR):           09/30/2022                                 Current Projected Date Of Final Report (TFR):              09/30/2022


            07/30/2020                                                                                    /s/S. Gregory Hays

               Date                                                                                       S. Gregory Hays
